     CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 1 of 7



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


RG Golf Warehouse, Inc.,                        Case No. 19-CV-0585 (WMW/DTS)

                                 Plaintiff,

                   v.                                    PROTECTIVE ORDER
                                                          FOR DISCOVERY
The Golf Warehouse, Inc.,

                               Defendant.



      The Court enters the following protective order pursuant to the parties’ stipulation

(Doc. No. 29):

1.    Definitions. As used in this protective order:

      (a)    “attorney” means an attorney who has appeared in this action;

      (b)    “confidential document” means a document designated as confidential

             under this protective order;

      (c)    to “destroy” electronically stored information means to delete from all

             databases, applications, and file systems so that the information is not

             accessible without the use of specialized tools or techniques typically used

             by a forensic expert;

      (d)    “document” means information disclosed or produced in discovery,

             including at a deposition;

      (e)    “notice” or “notify” means written notice;

      (f)    “party” means a party to this action; and
     CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 2 of 7



      (g)   “protected document” means a document protected by a privilege or the

            work-product doctrine.

2.    Designating a Document or Deposition as Confidential.

      (a)   A party or non-party disclosing or producing a document may designate it

            as confidential if the party or non-party contends that it contains

            confidential or proprietary information.

      (b)   A party or non-party may designate a document as confidential by

            conspicuously marking each page with the word “confidential.”

      (c)   Deposition testimony may be designated as confidential:

            (1)    on the record at the deposition; or

            (2)    after the deposition, by promptly notifying the parties and those who

            were present at the deposition.

      (d)   If a witness is expected to testify as to confidential or proprietary

            information, a party or non-party may request that the witness’s deposition

            be taken in the presence of only those persons entitled to receive

            confidential documents.

3.    Who May Receive a Confidential Document.

      (a)   A confidential document may be used only in this action.

      (b)   No person receiving a confidential document may reveal it, except to:

            (1)    the court and its staff;

            (2)    an attorney or an attorney’s partner, associate, or staff;



                                              2
CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 3 of 7



       (3)    a person shown on the face of the confidential document to have

              authored or received it;

       (4)    a court reporter or videographer retained in connection with this

              action;

       (5)    a party (subject to paragraph 3(c)); and

       (6)    any person who:

              (A)       is retained to assist a party or attorney with this action; and

              (B)       signs a declaration that contains the person’s name, address,

                        employer, and title, and that is in substantially this form:

                               I have read, and agree to be bound by, the protective
                        order in the case captioned RG Golf Warehouse, Inc. v. The
                        Golf Warehouse, Inc.; Case No.19-CV-0585 (WMW/DTS), in
                        the United States District Court for the District of Minnesota.
                        As soon as my work in connection with that action has ended,
                        but not later than 30 days after the termination of that action
                        (including any appeals), I will return or destroy any
                        confidential document that I received, any copy of or excerpt
                        from a confidential document, and any notes or other
                        document that contains information from a confidential
                        document.

                               I declare under penalty of perjury that the foregoing is
                        true and correct.

 (c)   A party may supplement the “confidential” mark (see paragraph 2(b)) with

       the words “attorney’s eyes only,” in which case a confidential document so

       designated may not be revealed to another party.

 (d)   If a confidential document is revealed to someone not entitled to receive it,

       the parties must make reasonable efforts to retrieve it.


                                         3
     CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 4 of 7



4.    Serving This Protective Order on a Non-Party. A party serving a subpoena on

      a non-party must simultaneously serve a copy of this protective order.

5.    Correcting an Error in Designation. A party or non-party who discloses or

      produces a confidential document not designated as confidential may, within 7

      days after discovering the error, provide notice of the error and produce a copy of

      the document designated as confidential.

6.    Use of a Confidential Document in Court.

      (a)   Filing. This protective order does not authorize the filing of any document

            under seal. A confidential document filed under seal may be filed only in

            accordance with Local Rule 5.6.

      (b)   Presentation at a hearing or trial. A party intending to present another

            party’s or a non-party’s confidential document at a hearing or trial must

            promptly notify the other party or the non-party in advance so that the other

            party or the non-party may seek relief from the court.

7.    Changing a Confidential Document’s Designation.

      (a)   Document disclosed or produced by a party. A confidential document

            disclosed or produced by a party remains confidential unless the parties

            agree to change its designation or the court orders otherwise.

      (b)   Document produced by a non-party. A confidential document produced by

            a non-party remains confidential unless the non-party agrees to change its

            designation or the court orders otherwise after providing an opportunity for

            the non-party to be heard.

                                           4
     CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 5 of 7



      (c)   Changing a designation by court order. A party who cannot obtain

            agreement to change a designation may move the court for an order

            changing the designation. If the motion affects a document produced by a

            non-party then, with respect to the motion, that non-party is entitled to the

            same notice and opportunity to be heard as a party. The party or non-party

            who designated a document as confidential must show that the designation

            satisfies Fed. R. Civ. P. 26(c).

8.    Handling a Confidential Document after Termination of Litigation.

      (a)   Within 60 days after the termination of this action (including any appeals),

            each party must:

            (1)    return or destroy all confidential documents; and

            (2)    notify the disclosing or producing party that it has returned or

                   destroyed all confidential documents within the 60-day period.

      (b)   Notwithstanding paragraph 8(a), each attorney does not have to delete

            and/or destroy all confidential information in his/her possession with the

            understanding that said confidential information will not be disclosed or

            disseminated to any person outside the attorney’s law firm/office.

            However, pursuant to paragraph 8(a), each attorney will coordinate and

            facilitate the return or destruction of all confidential documents in his/her

            client’s possession. Attorneys may also retain a copy of any confidential

            document submitted to the court.



                                               5
      CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 6 of 7



9.     Inadvertent Disclosure or Production to a Party of a Protected Document.

       (a)   Notice.

             (1)    A party or non-party who discovers that it has inadvertently

                    disclosed or produced a protected document must promptly notify

                    the receiving party and describe the basis of the claim of privilege or

                    protection.   If the party or non-party provides such notice and

                    description, the privilege or protection is not waived.

             (2)    A party who discovers that it may have received an inadvertently

                    disclosed or produced protected document must promptly notify the

                    disclosing or producing party or non-party.

       (b)   Handling of Protected Document. A party who is notified or discovers that

             it may have received a protected document must comply with Fed. R. Civ.

             P. 26(b)(5)(B).

       (c)   By operation of the parties’ Stipulation and the Court’s Order herein, the

             parties are specifically afforded the protections of Fed. R. Evid. 502(d) and

             (e).

10.    Security Precautions and Data Breaches.

       (a)   Each party must make reasonable efforts to protect the confidentiality of

             any confidential document disclosed or produced to that party.

       (b)   A party who learns of a breach of confidentiality must promptly notify the

             disclosing or producing party of the scope and nature of that breach and

             make reasonable efforts to remedy the breach.

                                            6
      CASE 0:19-cv-00585-WMW-DTS Document 32 Filed 11/26/19 Page 7 of 7



11.    Survival of Obligations.      The obligations imposed by this protective order

       survive the termination of this action.



SIGNED BY JUDGE:


Date: November 26, 2019                          s/David T. Schultz
                                                 DAVID T. SCHULTZ
                                                 United States Magistrate Judge




                                             7
